STATEMENT OF THE FACTS.
Appellants brought this suit in equity against appellee to cancel a deed to a tract of land in Conway County, Arkansas, alleged to have been executed by Lela Van Winkle while she was mentally incompetent, and which is also alleged to have been procured by the undue influence of the husband of Ella May Oates. Appellee denied the allegations of the complaint, and asked that it be dismissed for want of equity.
The record shows that Lela Van Winkle, who executed the deed in controversy to Ella May Oates, was the daughter of James M. Van Winkle, who died in the year 1909, and that Lela Van Winkle inherited the land from him. Appellants are the next of kin and the collateral heirs of Lela Van Winkle, who died without issue. The land in controversy is situated in Conway County, Arkansas, and comprises about 446 74/100 acres. Two hundred acres are bottom land, valued by appellants at $150 an acre, or $30,000, and 240 acres are upland, which, with improvements, are valued by appellants at $25 an acre, or $6,000. The total valuation placed by appellants upon the land amounts to $36,000. The consideration recited in the deed to appellee was $20,000, $16,000 of which was cash and the remaining $4,000 being the assumption by appellee of an existing lien on the land. Witnesses for appellee gave this as a fair value of the land.
Lela Van Winkle was a cousin of Ella May Oates, and loved her very much. She also esteemed highly Dr. L. T. Oates, the husband of appellee. After the death of her father, Lela Van Winkle became afflicted with *Page 985 
tuberculosis, and went to El Paso, Texas, for the purpose of treatment. While there she married, but soon procured a divorce from her husband. They had no children. She entered the Hendricks-Laws Sanatorium, near El Paso, Texas, for treatment, and remained an inmate of that institution for about forty months prior to her death on September 22, 1926.
T. B. Craft, the business manager of the sanatorium, was a close friend and the business adviser of Lela Van Winkle. In such capacity he wrote a letter to Dr. L. T. Oates, husband of Ella May Oates, at Morrilton, Arkansas, on August 26, 1926, in which he suggested that Lela Van Winkle desired to sell her farm in Conway County, being the lands in controversy. At the same time he wrote to other prospective purchasers in her behalf. Dr. L. T. Oates, upon receipt of the letter, took a train to El Paso, which was about 1,000 miles distant, and arrived there on Sunday morning, September 5, 1926. Immediately upon his arrival he went out to the sanatorium where Lela Van Winkle was an inmate, and introduced himself to Craft. He made known to the latter the purpose of his visit, which was to purchase the land. A conference was then held between Dr. Oates, Craft and Dr. L. W. Laws, head of the sanatorium. As a result of this conference, Dr. Laws went to the room of Lela Van Winkle and told her that Dr. Oates was there for the purpose of purchasing her land. Dr. Oates went to the room of Lela Van Winkle, and stayed there about thirty minutes. During this interval she made a trade with Dr. Oates for the sale of her farm to him for $20,000. Mr. J. Walker Morrow, formerly of Arkansas, but at that time an attorney in El Paso, was called to the hospital and consulted about the sale of the land by Lela Van Winkle to Ella May Oates. He advised the parties that no deed could be executed until the following day. On Monday, September 6, 1926, at about nine o'clock in the morning, Mr. Morrow and Dr. Oates returned to the hospital, and at that time a deed to the land in controversy, which had been prepared by Morrow, *Page 986 
was executed by Lela Van Winkle to Ella May Oates. Dr. Oates gave her a check for $15,895, and assumed an indebtedness against the land of about $4,000. Lela Van Winkle became worse, and died at the hospital on the 22d day of September, 1926, which was sixteen days after the execution of the deed.
The chart showing the amount of narcotics given her was introduced in evidence, and two expert witnesses for appellant testified that, considering the excessive amount of narcotics given to her, as shown by this chart, she was not mentally competent to execute the deed. On the other hand, physicians were introduced by appellee, who testified that the amount of narcotics given to Lela Van Winkle was not excessive, and Dr. Laws and other physicians testified that she was mentally competent to execute the deed in question. They said that she was an unusually bright young woman, and was only weakened physically by disease. Her mind was unimpaired, and she had contemplated selling the land for some time before she did so, in order that her mind might be at rest concerning her financial future. It was not known at the time that she would die so quickly. It was thought that she would live for some time longer, and she wished to have her estate reduced to money, that she might invest it in another way, and draw on the principal if she chose to do so.
Other facts will be stated or referred to in the opinion.
The chancellor made a specific finding of facts in favor of appellee, and it was decreed that the complaint of appellants should be dismissed for want of equity. The case is here on appeal.
(after stating the facts). The record shows that the appellants are the collateral heirs of Lela Van Winkle, deceased, and are entitled to whatever estate she left. At the outset it may be stated that the right to cancel a deed obtained from the grantor by mistake, *Page 987 
fraud, duress or undue influence descends to the heirs, if it exists in the ancestor, unimpaired at the time of his death. Reaves v. Davidson, 129 Ark. 88, 195 S.W. 19; case-note to 2 A.L.R. at p. 431; and note to 33 A.L.R. at p. 53.
This brings us to a consideration of the merits of the case. To invalidate a deed on the ground of the grantor's mental incapacity, the evidence must show that the grantor did not have sufficient intelligence to comprehend and act upon the affair in question, and that he did not understand and comprehend the nature and consequences of his act. Bilyeu v. Wood, 169 Ark. 1181,278 S.W. 48.
Counsel for appellants rely upon two grounds to avoid the deed of Lela Van Winkle at the time she executed it. One is that she was mentally incapacitated on account of the excessive amount of narcotics which had been given her in her treatment for tuberculosis. On this point the divorced husband of Lela Van Winkle testified that she was addicted to the use of drugs on account of having tuberculosis, and that this rendered her mentally incompetent to comprehend any business transaction of an extended character. We do not attach much importance to his testimony, for he is not shown to have been a man of any decided character himself. The parties did not live together long, and the record shows that Lela Van Winkle was a woman of as much or more intelligence than her divorced husband. Appellants also introduced the testimony of two experts, who examined the chart of the last illness of Lela Van Winkle, showing the amount of narcotics given her during the last few months of her life. Judging from the amount shown from the chart, they testified that she could not have been mentally competent to comprehend the nature of the transaction which she entered into with Dr. Oates on the Sunday morning in question, and that she was not mentally competent to execute the deed on the following morning. On the other hand, several physicians for appellee testified that the amount of narcotics given *Page 988 
her at that time was not excessive, and that she fully understood the nature of the transaction, and was mentally capable of executing the deed on the next morning after she had agreed upon the terms of the trade with Dr. Oates. Dr. Laws was one of these witnesses. He testified that Lela Van Winkle was a young woman of an unusually bright mind, and that she was only weakened physically by disease. She had contemplated selling the land in controversy for some time, and wished to do so in order to set her mind at rest concerning her future finances. She knew that she would have to remain in the sanatorium near El Paso, and her land was situated more than 1,000 miles away, in Conway County, Arkansas. She wished to sell it in order that she might invest the proceeds in such a way that she might invade the principal at any time she deemed it advisable for her physical and mental comfort.
Several business men of Conway County of acknowledged good repute testified that appellee gave an adequate consideration for the land. A careful consideration of the testimony leads us to the conclusion that $20,000 was a fair value for the land, instead of $36,000 as testified to by witnesses for appellants. These disinterested witnesses placed the value of the land at about $20,000, and gave their reasons for so doing.
Dr. Oates is not contended to have practiced any fraud on Lela Van Winkle, but it is contended that, by reason of his relationship to her, he unduly influenced her in the premises. There is nothing in the record tending to show that he said or did anything to cause her to sell the land against her will. While he had gone there for the purpose of purchasing the land for his wife, he did so after receiving a letter from the financial adviser of Lela Van Winkle, informing him that she wished to sell the land. There was no relation of trust or confidence between the parties, and no reason why Lela Van Winkle should have been unduly influenced by the mere presence of Dr. Oates. *Page 989 
As we have already seen, the land was sold for an adequate consideration, and Lela Van Winkle had evidently made up her mind in advance of seeing Dr. Oates that she wished to sell the land. It was not a jumped-up transaction, in which she acted hastily and without any advice upon the subject. She had contemplated selling the land for some time, and the sale was made to one of the parties to whom she had written concerning the purchase of the land. The burden was upon appellants to establish mental incapacity upon the part of the grantor, or that she was induced to execute the deed by undue influence. Atwood v. Ballard, 172 Ark. 176,287 S.W. 1001.
It is well settled in the cases above cited, and in many others that might be cited, that, if a person has mental capacity to execute a deed, in the absence of fraud or undue influence, mental weakness, whether produced by old age or other physical infirmities, will not invalidate the deed. Pledger v. Birkhead, 156 Ark. 443,246 S.W. 510; McCulloch v. Campbell, 49 Ark. 367, 5 S.W. 590; and McDonald v. Smith, 95 Ark. 523, 130 S.W. 515.
It cannot be said that the findings of fact by the chancellor are against the preponderance of the evidence, and therefore, under the settled rule of this court, the decree will be affirmed.